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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 KAO LEE YANG, et al.,                          §
                                                §
         Plaintiff,                             §
                                                §
 vs.                                            §
                                                §              CIVIL ACTION NO. H-18-161
 CHERAMERIE MARINE, LLC, et al.,                §
                                                §
         Defendants.                            §

               DEFENDANT EXPRESS PROFESSIONAL SERVICES, INC.’S
                      MOTION FOR SUMMARY JUDGMENT

        Defendant Express Professional Services, Inc. (“EPS”) files this motion for summary

judgment and costs pursuant to Federal Rules of Civil Procedure 54 and 56, respectfully showing:

                                    I. SUMMARY OF MOTION

        This is a consolidated wrongful death case against multiple defendants. Plaintiff Marcus

Wilson alleges that EPS employed the decedent at a marine facility in Galveston, Texas, but

Plaintiff has sued the wrong company. The summary judgment evidence establishes that:

           •   EPS never employed the decedent,

           •   EPS has never worked at the T&T Marine facility, and

           •   EPS has never worked in Galveston.

        Instead, EPS is a small janitorial company that works for health fitness centers and movie

theaters in Harris and Fort Bend counties. EPS unfortunately has a name that is apparently similar

to the company that employed the decedent, “Express Service, Inc.” The misidentification and

wrongful joinder of EPS has been repeatedly brought to Plaintiff’s counsel’s attention by EPS and

at least one other defendant. In the companion case to this one arising out of the same alleged

accident, in which Plaintiff’s counsel also wrongly named EPS as a defendant, EPS was forced to
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file a motion for summary judgment in state court (prior to removal) to extricate itself from the

suit. The plaintiff nonsuited EPS three days after that motion was filed. But the Plaintiff in this suit

did not nonsuit EPS from this companion case. As a result of being wrongly named as a Defendant,

EPS—a small business—has been forced to incur approximately $4,200 in attorney’s fees to

monitor and defend itself (fees which EPS is not seeking at this time).1

       Accordingly, EPS now files this motion for summary judgment seeking to extricate itself

from this lawsuit as well.

                                II. SUMMARY JUDGMENT EVIDENCE

       The following evidence is attached and incorporated in this motion:

       Exhibit 1:      Affidavit of Daniel Nino2

                                    III. FACTUAL BACKGROUND

       Attached as Exhibit 1 to this motion is the Affidavit of Daniel Nino, the sole shareholder

and registered agent for EPS. Mr. Nino confirms that EPS has never employed the decedent, never

worked at the T&T marine facility, and never worked in Galveston. Ex. 1. EPS is a small company

that provides janitorial services and employs only two people. Ex. 1. EPS has never employed

anyone other than Mr. Nino and his brother. Ex. 1.

       Counsel for EPS informed Plaintiff that it was not the correct party within days of EPS

being served with citation. Plaintiff’s counsel requested an affidavit confirming same, and on

October 30, 2017, EPS provided Plaintiff’s counsel with the affidavit.

       On November 6, 2017, co-defendant Lightering LLC filed a motion to transfer venue.

Lightering’s motion confirms that EPS is the wrong party, admitting that the decedent was working


1
  Prior to removal to this Court and consolidation, EPS filed its motion for summary judgment in
state court in Yang v. Cheramerie Marine, LLC, et al. Plaintiff subsequently nonsuited EPS in that
case. This motion seeks dismissal of the claims against EPS in Wilson v. Lightering, LLC, et al.
2
  Mr. Nino’s affidavit references this lawsuit by its styling and cause number prior to removal.


                                                   2
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for Lightering through a staffing agency named “Express Services, Inc.”3 On November 8, 2017,

EPS’s counsel requested the status of dismissing the claims against EPS. No dismissal occurred.

                                          IV. ARGUMENT

       Plaintiff has sued the wrong party. EPS has nothing to do with this case and accordingly

the negligence claims against it should be dismissed. A party may move for summary judgment

identifying each claim on which summary judgment is sought.4 The Court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.5

       It is axiomatic that there can be no cause of action for negligence against a defendant that

owed no legal duty to the plaintiff.6 The existence of a duty is a question of law for the court to

decide from the particular facts of the case.7

       Plaintiff alleges negligence and gross negligence against all defendants, and alleges that

EPS employed the decedent.8 The existence of a duty is a question of law for the court to decide

from the particular facts of the case.9 The Court must dismiss Plaintiff’s claims against EPS

because EPS owes no duty to Plaintiff. EPS never employed the decedent and never worked in

Galveston. EPS was not involved in, and has no personal knowledge of, any of the alleged facts

that give rise to this case. Given these undisputed facts, EPS owed no duty to Plaintiff, and there



3
  See Lightering LLC’s Motion to Transfer Venue and, Subject Thereto, Answer to Plaintiff’s
First Amended Petition (Nov. 6, 2017) (Envelope No. 20520801). The Court may take judicial
notice of this filing.
4
  FED. R. CIV. P. 56(a).
5
  Id.
6
  See, e.g., A.H. Belo Corp. v. Corcoran, 52 S.W.3d 375, 382-83 (Tex.App.—Houston [1st Dist.]
2001, pet. denied).
7
  Henderson v. CC-Parque View, LLC, 2017 WL 2178882, at *3 (Tex.App.—Houston [1st Dist.]
May 18, 2017, no pet.).
8
  Plaintiff’s Original Petition at 1, 3-4.
9
  Henderson, 2017 WL 2178882, at *3.


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is no basis for Plaintiff’s negligence and gross negligence claims against EPS.10

       Pursuant to Federal Rule of Civil Procedure 51(d), costs should be awarded to Defendant

Express Professional Services, Inc.

                                           IV. PRAYER

       For these reasons, Defendant Express Professional Services, Inc. prays that the Court grant

its motion for summary judgment and dismiss Plaintiff’s claims of negligence and gross negligence

against EPS with prejudice; that Plaintiff take nothing by reason of its suit against EPS; that costs

be awarded to EPS and taxed against Plaintiff; and for such other and further relief, both at law

and equity, to which Defendant EPS may be justly entitled.



Date: February 15, 2018                       Respectfully submitted,


                                              /s/ Scott R. Davis
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10
  Henderson, 2017 WL 2178882, at *3, 6 (affirming grant of traditional summary judgment on
negligence claim where no duty existed).


                                                 4
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ATTORNEYS FOR DEFENDANT
EXPRESS PROFESSIONAL SERVICES, INC.




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                                CERTIFICATE OF SERVICE

I hereby certify that on February 15, 2018, this document was electronically served on the parties
listed below who are registered to receive notifications via the Court’s CM/ECF system and are
listed on the Civil Docket as counsel for this case:

Plaintiff Marcus Wilson

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